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                      Exhibit E
         Ms Tildesley’s email to Mr Elkinson
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From:                              Hannah Tildesley <htildesley@applebyglobal.com>
Sent:                              Friday, August 18, 2023 6:33 PM
To:                                Ben Adamson; Jeffrey Elkinson; Britt Smith; George Barbieri
Cc:                                John Wasty; James Batten; Jordan Knight
Subject:                           In the Matter of White Rock Insurance (SAC) Ltd, urgent
Attachments:                       2023-08-18-11-58-57-Notice---The-Bermuda-Monetary-Authority-and-White-Rock-
                                   Bermuda-Jointly-Agree-to-Take-Action-to-Address-Alleged-Fraud-at-Vesttoo.pdf


Dear All,

As you know, we act on behalf of Vesttoo Ltd.

Please as a matter of urgency provide a copy of all orders made at today’s hearing in the above captioned
matter and referred to in the attached BMA notice.

We will be writing further in relation to the hearing and the conduct of the same in due course and all of
our clients rights are reserved.

Kind regards,

HANNAH TILDESLEY
PARTNER | DISPUTE RESOLUTION
Appleby (Bermuda) Limited
Tel: +1 441 298 3590 / Ext. 6123




BERMUDA | BVI | CAYMAN | GUERNSEY | HONG KONG | ISLE OF MAN | JERSEY | MAURITIUS | SEYCHELLES | SHANGHAI
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